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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 ABDEE SHARIFAN on behalf of himself §
 and for all others similarly situated, §
                                        §
         Plaintiffs,                    §
                                        § Civil action no. 4:21-cv-01940
 v.                                     §
                                        §
 NEOGENIS LABS, INC.                    §
 D/B/A HUMANN,                          §
                                        §
         Defendant
                                        §
                                        §

                                 [PROPOSED] ORDER

         Now before the Court is Defendant Human Power of N Company’s (formerly

known as “NeoGenis Labs, Inc.”) Motion to Dismiss Plaintiff Abdee Sharifan’s Amended

Complaint. Having consider the Defendant’s Motion, the record in this matter, and the

arguments of counsel, the Court GRANTS Defendant’s Motion.

         IT IS SO ORDERED that Plaintiff’s Amended Complaint is hereby dismissed, with

prejudice. Let judgment be entered accordingly.

Dated: ___________, 2021

                                         ___________________________________
                                         Hon. George C. Hanks
                                         United States District Judge




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